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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Lynn Letizi,
                                                  Case No. 20-cv-1226
               Plaintiff,

       v.                                         Hon. Matthew F. Kennelly

IQ Data International, Inc.; Legend Park          Magistrate Judge:
Apartments of Schaumburg, LLC,                    Hon. Sheila M. Finnegan

               Defendants.
                                                  JURY TRIAL DEMANDED

                            NOTICE OF VOLUNTARY DISMISSAL
                                 UNDER RULE 41(1)(A)(i)

PLEASE TAKE NOTICE that the Plaintiff Lynn Letizi hereby voluntarily dismisses this

matter, with such dismissal as to Defendant IQ Data International with prejudice, and as

to defendant Legend Park Apartments of Schaumburg, LLC without prejudice. No party has

served either an answer or a motion for summary judgment herein.


                                           Respectfully submitted,

                                           s/Steven J. Uhrich

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                              CERTIFICATE OF SERVICE

I hereby certify that on April 14, 2020, a copy of the foregoing was served on all
counsel of record via electronic mail via the Court’s cm/ecf system.



                                               /s/ Steven J. Uhrich
                                               Attorney for Plaintiff
